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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                              ENTERED
                                                                                            03/15/2016
IN RE:                          §
ATP OIL & GAS CORPORATION       §                      CASE NO: 12-36187
       Debtor(s)                §
                                §                      CHAPTER 7
                                §
OMEGA NATCHIQ, INC.             §
      Plaintiff(s)              §
                                §
VS.                             §                      ADVERSARY NO. 14-3301
                                §
ATP INFRASTRUCTURE PARTNERS, LP §
      Defendant(s)              §
                                §

                                           ORDER

       For the reasons set forth in the Memorandum Opinion issued on this date, this adversary
proceeding is dismissed.

       SIGNED March 15, 2016.


                                               ___________________________________
                                                           Marvin Isgur
                                               UNITED STATES BANKRUPTCY JUDGE




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